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         THERMAL SCIENCES CORPORATION
     7
         [FOR A COMPLETE LISTING OF PLAINTIFF’S/COUNTER-
     8   DEFENDANT’S COUNSEL REFER TO SIGNATURE PAGE]
     9
   10                  IN THE UNITED STATES DISTRICT COURT
   11                FOR THE CENTRAL DISTRICT OF CALIFORNIA
   12                             SOUTHERN DIVISION
   13    ADVANCED THERMAL SCIENCES           ) Civil Action No.
         CORPORATION, a Delaware Corporation ) SACV 07-1384 JVS (JWJx)
   14                                        )
                                             )
   15               Plaintiff,               ) ATS’ PROTECTIVE ORDER
                                             )
   16         v.                             )
                                             )
   17    APPLIED MATERIALS, INC., a          )
         Delaware Corporation,               ) Referred to Magistrate Judge
   18                                        ) Jeffrey W. Johnson
                    Defendant.               )
   19    __________________________________ )
         AND RELATED COUNTERCLAIMS           )
   20                                        )
                                             )
   21
   22
   23                     NOTE: CHANGES MADE BYT THE COURT IN BOLD
   24
   25
   26
   27
   28
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     1         WHEREAS, Plaintiff Advanced Thermal Sciences Corporation (“ATS”)
     2   and Defendant Applied Materials, Inc. (“Applied”) (collectively “the parties”)
     3   are involved in the highly competitive business of developing, designing, and
     4   manufacturing components and equipment used in semiconductor wafer and flat
     5   panel display fabrication equipment;
     6         WHEREAS, the parties agree that in the course of pre-trial discovery
     7   relating to issues of inventorship, development, and ownership of intellectual
     8   property, the parties will likely seek disclosure of technical information that
     9   contains highly confidential, trade secret, or proprietary information of the
   10    parties, which the parties have taken reasonable steps to maintain as trade
   11    secrets.   For example, through document requests, interrogatories, and
   12    deposition testimony, the parties will likely seek discovery from each other that
   13    requires disclosure of highly confidential research and development procedures,
   14    technical product schematics and product operational descriptions;
   15          WHEREAS, the parties agree that the disclosure of confidential
   16    proprietary information, including protected trade-secrets, during discovery in
   17    this case without appropriate confidentiality restrictions, or permitting
   18    unnecessary access to such confidential proprietary information, would
   19    substantially injure the disclosing party and provide a significant competitive
   20    advantage to competitors of the disclosing party;
   21          WHEREAS, to expedite the flow of pre-trial discovery materials, protect
   22    the confidentiality of the trade secret and proprietary technical information,
   23    ensure that protection is afforded only to materials so entitled, facilitate the
   24    prompt resolution of disputes over confidentiality, and eliminate the need for
   25    repeated requests that the Court become directly involved in the discovery
   26    process; and
   27          WHEREAS, the parties have established good cause for entry of such an
   28    Order;
                                                -1-
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     1   IT IS HEREBY ORDERED:
     2                                     DEFINITIONS
     3         1. “Party”: any party to this action, including all of its officers, directors,
     4   employees, and those acting on its behalf.
     5         2. “Material”: all items or information, regardless of the medium or
     6   manner generated, stored, or maintained, including but not limited to:
     7   documents or portions of documents; written discovery responses; electronic
     8   data; electronic copies of documents; trial testimony, deposition testimony and
     9   exhibits, and transcripts of trial testimony and depositions, including data,
   10    summaries, and compilations derived therefrom; designs, technical data, or
   11    drawings; and any portion of any documents, including court paper filed in this
   12    action, that quotes or summarizes any of these items.
   13          3. “Designated Material”: any Material that has been designated as
   14    “CONFIDENTIAL,”            “TDSF        CONFIDENTIAL”             or     “HIGHLY
   15    CONFIDENTIAL – FOR ATTORNEYS AND CONSULTANTS ONLY”
   16    under this Order.
   17          4. “CONFIDENTIAL” information, documents or things: information not
   18    generally known to others, and which the Designating Party (i) would not
   19    normally reveal to third parties except in confidence or has undertaken with
   20    others to maintain in confidence, or (ii) believes in good faith is protected by a
   21    right to privacy under federal or state law or any other applicable privilege or
   22    right related to confidentiality or privacy.
   23          5. “TDSF CONFIDENTIAL” information is (i) technical information
   24    regarding manufacture, construction, development, function, or operation of any
   25    TDSF equipment, system or device created during the course of the TDSF
   26    Statement of Work that the Designating Party contends was “Jointly
   27    Developed” under the terms of the Joint Development Agreement; and (ii) filed
   28    patent applications relating to such technology.
                                                 -2-
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     1         6. “HIGHLY CONFIDENTIAL - ATTORNEYS AND CONSULTANTS
     2   ONLY” information, documents and things: information not generally known to
     3   others and having significant competitive or economic value such that the
     4   unrestricted disclosure to others would create a substantial risk of serious injury,
     5   and which the Designating Party (i) would not normally reveal to third parties
     6   except in confidence or has undertaken with others to maintain in confidence, or
     7   (ii) believes in good faith is protected by a right to privacy under federal or state
     8   law or any other applicable privilege or right related to confidentiality or
     9   privacy. “HIGHLY CONFIDENTIAL - ATTORNEYS AND CONSULTANTS
   10    ONLY” information may include, but is not limited to, the following:
   11    (i) technical information regarding manufacture, construction, development,
   12    function, or operation of any past, present, or future product or service other
   13    than the TDSF technology described in Paragraph 5; (ii) technical information
   14    regarding manufacture, construction, development, function, or operation of any
   15    TDSF equipment, system or device that the Designating Party contends was its
   16    “Pre-Existing IP” or its separately “Developed IP” under the terms of the Joint
   17    Development Agreement; (iii) financial information, such as pricing, income,
   18    profits, losses, expenses, costs, overhead, royalty rates, or sales quantities
   19    relating to any past, present, or future product or service; (iv) contractual
   20    relationships with third parties, including, but not limited to, agreements in
   21    settlement of litigation; (v) business, financial or marketing plans, projections,
   22    or data; (vi) the identity of customers or suppliers; (vii) research and
   23    development materials, including product and market research; (viii)
   24    unpublished patent applications other than those covering the TDSF technology
   25    described in Paragraph 5; (ix) trade secrets; and (x) documents that contain,
   26    disclose, or reflect confidential business, commercial, financial, or other
   27    similarly sensitive information of a non-public nature.
   28    ///
                                                 -3-
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     1            7. “Producing Party”: a Party or non-party that produces Material in this
     2   action.
     3            8. “Receiving Party”: a Party that receives Material from a Producing
     4   Party.
     5            9. “Designating Party”: a Party or non-party that designates information,
     6   documents, or things that are produced in disclosures, responses to discovery, or
     7   otherwise in the course of this action as “CONFIDENTIAL,” “TDSF
     8   CONFIDENTIAL” or “HIGHLY CONFIDENTIAL - ATTORNEYS AND
     9   CONSULTANTS ONLY,” or which a Party designates pursuant to Paragraph
   10    15(e). Non-Parties that produce Material in this action may designate Material
   11    under this Protective Order in the same manner as Parties.
   12             10.   “Outside Counsel”: the law firms identified below, and attorneys,
   13    paralegals, secretaries, and other support staff employed in the law firms to
   14    whom it is reasonably necessary to disclose the information for this litigation:
   15             KNOBBE, MARTENS, OLSON & BEAR, LLP
   16             JACKSON DEMARCO TIDUS PECKENPAUGH
   17             SQUIRE, SANDERS & DEMPSEY LLP
   18             ORRICK, HERRINGTON & SUTCLIFFE LLP
   19             11.   “Outside Consultant”: a person with specialized knowledge or
   20    experience in a matter pertinent to the litigation who has been retained by a
   21    Party or Counsel of Record to serve as an expert witness or as a consultant in
   22    this action and who is not a current employee of a Party or a direct competitor of
   23    the opposing Party with regard to temperature control systems for
   24    semiconductor applications and who, at the time of retention, is not anticipated
   25    to become an employee of a Party or a direct competitor of the opposing Party
   26    with regard to temperature control systems for semiconductor applications.
   27             12.   “Professional Vendors”: persons or entities that provide litigation
   28    support services (e.g. photocopying; videotaping; translating; designing or
                                                 -4-
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     1   preparing exhibits or demonstratives; organizing, storing, retrieving data in any
     2   form or medium; etc.) and their employees and subcontractors. This definition
     3   includes a professional jury consultant or trial consultant retained in connection
     4   with this litigation and does not include consultants who fall within the
     5   definition of Outside Consultant.
     6                                        SCOPE
     7         13.     The protections conferred by this Order cover not only Designated
     8   Material (as defined above), but also any information copied or extracted
     9   therefrom, as well as any copies, excerpts, summaries, or compilations thereof
   10    and testimony and oral conversation disclosing CONFIDENTIAL, TDSF
   11    CONFIDENTIAL or HIGHLY CONFIDENTIAL - ATTORNEYS AND
   12    CONSULTANTS ONLY information.
   13     PROCEDURE FOR DESIGNATING MATERIALS AND TESTIMONY
   14          14.    Subject to the limitations set forth in this Order, a Designating
   15    Party may designate as “CONFIDENTIAL” information the Designating Party
   16    believes in good faith meets the definition set forth in Paragraph 4 above, a
   17    Designating Party may designate as “TDSF CONFIDENTIAL” information the
   18    Designating Party believes in good faith meets the definition set forth in
   19    Paragraph 5 above, and a Designating Party may designate as “HIGHLY
   20    CONFIDENTIAL          -   ATTORNEYS          AND     CONSULTANTS           ONLY”
   21    information the Designating Party believes in good faith meets the definition set
   22    forth in Paragraph 6 above.
   23          15.    Except as otherwise provided in this Order or as otherwise
   24    stipulated or ordered, material that qualifies for protection under this Order shall
   25    be designated in accordance with Paragraph 16 before the material is disclosed,
   26    produced, or filed.
   27    ///
   28    ///
                                                -5-
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     1         16.    Designation in conformity with this Order requires:
     2                (a) Documents: For information in documentary form (apart from
     3   transcripts of depositions or other pretrial or trial proceedings), the Producing
     4   Party shall affix the legend “CONFIDENTIAL,” “TDSF CONFIDENTIAL” or
     5   “HIGHLY CONFIDENTIAL - ATTORNEYS AND CONSULTANTS ONLY”
     6   on the first page and each page that contains Designated Material. This includes
     7   (1) written responses to interrogatories or requests for admission and (2)
     8   declarations and pleadings. However, in the event a Producing Party elects to
     9   produce documents and things for inspection, no designation need be made prior
   10    to the inspection. For purposes of such inspection, all documents and things
   11    shall be considered subject to the protections afforded documents and things
   12    labeled “HIGHLY CONFIDENTIAL - ATTORNEYS AND CONSULTANTS
   13    ONLY.” Upon request for copying of any items so inspected, the Producing
   14    Party shall designate such documents with the appropriate designation before
   15    copies are delivered to the Receiving Party;
   16                 (b) Testimony: For testimony given in deposition or in other
   17    pretrial or trial proceedings, the Designating Party shall identify on the record
   18    during the deposition, hearing, or other proceeding, or within thirty (30)
   19    calendar days thereof, that specific portions or the entire transcript be designated
   20    as    “CONFIDENTIAL”           “TDSF      CONFIDENTIAL”           or    “HIGHLY
   21    CONFIDENTIAL - ATTORNEYS AND CONSULTANTS ONLY.” Written
   22    transcripts of Testimony shall be designated in the same manner as other
   23    documents in accordance with Paragraph 16(a).
   24                 (c) For other oral disclosures, the Designating Party shall give
   25    notice, within ten (10) calendar days of such disclosure, in writing (by facsimile
   26    and email) identifying all protected disclosures and specifying which aspects of
   27    those disclosures it wishes to designate as “CONFIDENTIAL,” “TDSF
   28
                                                -6-
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     1   CONFIDENTIAL” or “HIGHLY CONFIDENTIAL - ATTORNEYS AND
     2   CONSULTANTS ONLY.”
     3               (d) For any other tangible items, the Producing Party shall affix in
     4   a prominent place on the exterior of the item or container(s) in which the
     5   information or thing is stored the legend “CONFIDENTIAL,” “TDSF
     6   CONFIDENTIAL” or “HIGHLY CONFIDENTIAL - ATTORNEYS AND
     7   CONSULTANTS ONLY.”
     8               (e)     If a Producing Party produces Material containing
     9   “CONFIDENTIAL,”           “TDSF       CONFIDENTIAL”            or     “HIGHLY
   10    CONFIDENTIAL         -   ATTORNEYS          AND    CONSULTANTS          ONLY”
   11    information of another Party without appropriate designation, a non-Producing
   12    Party may Designate such Material by providing notice to all parties to this
   13    action and to the Producing Party, identifying with particularity the Designated
   14    Material to be designated (either by production numbers or by providing other
   15    adequate identification of the specific Designated Material), within twenty (20)
   16    court days from the date that the Designating Party receives copies of the
   17    Designated Material from the Producing Party.
   18          17.   Each Designating Party retains the right to re-designate Designated
   19    Material under this Order and to have such re-designated Material treated in
   20    accord with such designations from that time forward, subject to the right of the
   21    Receiving Party to challenge the propriety of such designation(s) as provided
   22    herein.
   23                   INADVERTENT FAILURE TO DESIGNATE
   24          18.   The inadvertent production of information without an appropriate
   25    designation of confidentiality shall not be deemed a waiver of the confidential
   26    nature of any such information. Inadvertent failure to designate documents or
   27    information subject to the attorney-client privilege, work product immunity, or
   28    any other applicable privilege or immunity shall not preclude the Producing
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     1   Party from asserting that the production was inadvertent in accordance with
     2   Paragraphs 46-48.
     3         19.    Upon discovery of an inadvertent failure to designate, a
     4   Designating Party may notify the Receiving Party (by fax and email) that the
     5   Material is to be designated as “CONFIDENTIAL,” “TDSF CONFIDENTIAL”
     6   or “HIGHLY CONFIDENTIAL - ATTORNEYS AND CONSULTANTS
     7   ONLY.”      Upon receipt of such notice, the Receiving Party must make
     8   reasonable efforts to assure that the material is treated in accordance with the
     9   terms of this Order, subject to the right to challenge the propriety of such
   10    designation(s) as provided herein.
   11                        USE OF DESIGNATED MATERIAL
   12          20.    Use of Designated Material By Receiving Party: Designated
   13    Material shall be used by the Receiving Party only for purposes of this
   14    litigation. Designated Material shall not be used or in any way disclosed by the
   15    Receiving Party except as provided under the terms of this Order.
   16          21.    Use of Designated Material By Designating Party: Nothing in this
   17    Order shall limit any Designating Party’s use of its own documents and
   18    information, nor shall it prevent the Designating Party from disclosing its own
   19    confidential information, documents or things to any person. Such disclosure
   20    shall not affect any designations made pursuant to the terms of this Order, so
   21    long as the disclosure is made in a manner that is reasonably calculated to
   22    maintain the confidentiality of the information.
   23                     ACCESS TO DESIGNATED MATERIAL
   24          22.    Disclosure of Information, Documents and Things Designated
   25    “CONFIDENTIAL.” Unless otherwise ordered by the Court or permitted in
   26    writing by the Designating Party, a Receiving Party may disclose any
   27    information, document or thing designated “CONFIDENTIAL” only to:
   28    ///
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     1                (a)   two in-house counsel designees, whose job responsibilities
     2   include litigation supervision and not the preparation or supervision of the
     3   preparation of patent applications, designated by the Receiving Party, who have
     4   signed the “Acknowledgment and Nondisclosure Agreement” attached hereto as
     5   Exhibit A, and their paralegals, secretaries, and other legal support staff to
     6   whom disclosure is reasonably necessary. The Receiving Party must identify
     7   the in-house counsel designees to the Producing Party and produce a signed
     8   copy of the “Acknowledgment and Nondisclosure Agreement” prior to the
     9   disclosure of any CONFIDENTIAL Designated Materials to the designee;
    10                (b)   employees of the Receiving Party who’s participation in the
    11   litigation the Receiving Party believes in good faith is reasonably necessary to
    12   the prosecution of this action and who have signed the “Acknowledgment and
    13   Nondisclosure Agreement” attached hereto as Exhibit A. The Receiving Party
    14   must identify such employees to the Producing Party and produce a signed copy
    15   of the “Acknowledgment and Nondisclosure Agreement” prior to the disclosure
    16   of any CONFIDENTIAL Designated Materials to such employees;
    17                (c)   persons who appear on the face of the Designated Material
    18   as an author, addressee or recipient thereof;
    19                (d)   Outside Counsel identified in Paragraph 10 above;
    20                (e)   Outside Consultants of the Receiving Party to whom
    21   disclosure is reasonably necessary for this litigation and who have signed the
    22   “Acknowledgment and Nondisclosure Agreement” attached hereto as Exhibit A
    23   and the “Certification of Consultant” attached hereto as Exhibit B, and who
    24   have been approved to access such Material as set forth in Paragraphs 28-31.
    25                (f)   the Court and its personnel in this action;
    26                (g)   any designated arbitrator or mediator who is assigned to hear
    27   this matter, and his or her staff who have signed the “Acknowledgment and
    28   Nondisclosure Agreement” attached hereto as Exhibit A;
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     1                (h)    court reporters; and
     2                (i)    Professional Vendors (and their staffs) to which disclosure is
     3   reasonably necessary for this litigation and a representative of which has signed
     4   the “Acknowledgment and Nondisclosure Agreement” attached hereto as
     5   Exhibit A.
     6         23.    Disclosure of Information, Documents and Things Designated
     7   “TDSF CONFIDENTIAL.” Unless otherwise ordered by the Court or permitted
     8   in writing by the Designating Party, a Receiving Party may disclose any
     9   information, document or thing designated “TDSF CONFIDENTIAL” only to:
    10                (a)    two in-house counsel designees, whose job responsibilities
    11   include litigation supervision and not the preparation or supervision of the
    12   preparation of patent applications, designated by the Receiving Party, who have
    13   signed the “Acknowledgment and Nondisclosure Agreement” attached hereto as
    14   Exhibit A, and their paralegals, secretaries, and other legal support staff to
    15   whom disclosure is reasonably necessary. The Receiving Party must identify
    16   the in-house counsel designees to the Producing Party and produce a signed
    17   copy of the “Acknowledgment and Nondisclosure Agreement” prior to the
    18   disclosure of any TDSF CONFIDENTIAL Designated Materials to the
    19   designee;
    20                (b)    two in-house technical designees who were involved in the
    21   Project described in the TDSF Statement of Work and who have signed the
    22   “Acknowledgment and Nondisclosure Agreement” attached hereto as Exhibit A.
    23   The Receiving Party must identify the in-house technical designees to the
    24   Producing Party and produce a signed copy of the “Acknowledgment and
    25   Nondisclosure      Agreement”    prior     to     the   disclosure   of   any   TDSF
    26   CONFIDENTIAL Designated Materials to the designee;
    27                (c)    persons who appear on the face of the Designated Material
    28   as an author, addressee or recipient thereof;
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     1                (d)   Outside Counsel identified in Paragraph 10 above;
     2                (e)   Outside Consultants of the Receiving Party to whom
     3   disclosure is reasonably necessary for this litigation and who have signed the
     4   “Acknowledgment and Nondisclosure Agreement” attached hereto as Exhibit A
     5   and the “Certification of Consultant” attached hereto as Exhibit B, and who
     6   have been approved to access such Material as set forth in Paragraphs 28-31.
     7                (f)   the Court and its personnel in this action;
     8                (g)   any designated arbitrator or mediator who is assigned to hear
     9   this matter, and his or her staff who have signed the “Acknowledgment and
    10   Nondisclosure Agreement” attached hereto as Exhibit A;
    11                (h)   court reporters; and
    12                (i)   Professional Vendors (and their staffs) to which disclosure is
    13   reasonably necessary for this litigation and a representative of which has signed
    14   the “Acknowledgment and Nondisclosure Agreement” attached hereto as
    15   Exhibit A.
    16         24.    Disclosure of Information, Documents and Things Designated
    17   “HIGHLY CONFIDENTIAL -ATTORNEYS AND CONSULTANTS ONLY.”
    18   Unless otherwise ordered by the Court or permitted in writing by the
    19   Designating Party, a Receiving Party may disclose any information, document
    20   or thing designated “HIGHLY CONFIDENTIAL -ATTORNEYS AND
    21   CONSULTANTS ONLY” only to:
    22                (a)   two in-house counsel designees, whose job responsibilities
    23   include litigation supervision and not the preparation or supervision of the
    24   preparation of patent applications, designated by the Receiving Party, who have
    25   signed the “Acknowledgment and Nondisclosure Agreement” attached hereto as
    26   Exhibit A, and their paralegals, secretaries, and other legal support staff to
    27   whom disclosure is reasonably necessary. The Receiving Party must identify
    28   the in-house counsel designees to the Producing Party and produce a signed
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     1   copy of the “Acknowledgment and Nondisclosure Agreement” prior to the
     2   disclosure of any HIGHLY CONFIDENTIAL – ATTORNEYS AND
     3   CONSULTANTS ONLY Designated Materials to the designee;
     4                (b)   persons who appear on the face of the Designated Material
     5   as an author, addressee or recipient thereof;
     6                (c)   Outside Counsel identified in Paragraph 10 above;
     7                (d)   Outside Consultants of the Receiving Party to whom
     8   disclosure is reasonably necessary for this litigation and who have signed the
     9   “Acknowledgment and Nondisclosure Agreement” attached hereto as Exhibit A
    10   and the “Certification of Consultant” attached hereto as Exhibit B, and who
    11   have been approved to access such Material as set forth in Sections 28-31.
    12                (e)   the Court and its personnel in this action;
    13                (f)   any designated arbitrator or mediator who is assigned to hear
    14   this matter, and his or her staff who have signed the “Acknowledgment and
    15   Nondisclosure Agreement” attached hereto as Exhibit A;
    16                (g)   court reporters; and
    17                (h)   Professional Vendors (and their staffs) to which disclosure is
    18   reasonably necessary for this litigation and a representative of which has signed
    19   the “Acknowledgment and Nondisclosure Agreement” attached hereto as
    20   Exhibit A.
    21         25.    A person may be examined as a witness at a deposition, hearing or
    22   trial and may testify concerning CONFIDENTIAL, TDSF CONFIDENTIAL
    23   and HIGHLY CONFIDENTIAL ATTORNEYS AND CONSULTANTS ONLY
    24   Designated Material, and the information contained therein, as follows:
    25                (a) A present employee of a Party may be examined and may
    26   testify regarding CONFIDENTIAL, TDSF CONFIDENTIAL and HIGHLY
    27   CONFIDENTIAL ATTORNEYS AND CONSULTANTS ONLY Designated
    28   Material produced by that Party;
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     1                (b) A past employee of a Party may be examined and may testify
     2   regarding    CONFIDENTIAL,         TDSF        CONFIDENTIAL       and   HIGHLY
     3   CONFIDENTIAL ATTORNEYS AND CONSULTANTS ONLY Designated
     4   Material produced by that Party that pertains to the period(s) of employment of
     5   that employee by the Party; and
     6                (c) A present or former consultant to a Party may be examined and
     7   may testify regarding CONFIDENTIAL, TDSF CONFIDENTIAL and
     8   HIGHLY CONFIDENTIAL ATTORNEYS AND CONSULTANTS ONLY
     9   Designated Material produced by that Party that pertains to the subject matter of
    10   his or her consultation.
    11                No witness may retain copies of any such Designated Material
    12   unless permitted by other provisions of this Order.
    13         26.    All Designated Material shall be maintained at a location and under
    14   circumstances to ensure that access is limited to those persons entitled to have
    15   access under this Order. Under no circumstance is Designated Material marked
    16   “HIGHLY CONFIDENTIAL ATTORNEYS AND CONSULTANTS ONLY”
    17   to be maintained on the premises of the Receiving Party unless it is maintained
    18   in a location to which only the in-house counsel designees identified in
    19   paragraphs 22(a), 23(a), and 24(a) and their legal support staff have access.
    20         27.    At the request of the Designating Party, persons not permitted
    21   access to Designated Material under the terms of this Order shall not be present
    22   at depositions while the Designating Party’s Designated Material is discussed or
    23   otherwise disclosed. To the extent reasonably possible, pre-trial (including
    24   motion practice before the Court) and trial proceedings shall be conducted in a
    25   manner, subject to the supervision of the Court, to protect Designated Material
    26   from disclosure to persons not authorized to have access to such Designated
    27   Material. Any Party intending to disclose or discuss Designated Material in
    28
                                               - 13 -
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     1   open Court during pretrial or trial proceedings shall provide written notice to the
     2   Designating Party at least seventy-two (72) hours prior to such disclosure.
     3                      ACCESS BY OUTSIDE CONSULTANTS
     4          28.    Notice. If a Receiving Party wishes to disclose another party’s
     5   Designated Material to any Outside Consultant, such Receiving Party must
     6   provide notice to counsel for the Designating Party, which notice shall include:
     7   (a) the full name and professional address and/or affiliation of the Outside
     8   Consultant, (b) a current copy of the Outside Consultant’s curriculum vitae or
     9   resume; (c) his or her prior employment or consultancies for the previous five
    10   years, (d) all of the person’s other present employment or consultancies in the
    11   field, (e) all of the person’s past litigation-related activities, identifying the party
    12   for whom the person consulted and the nature of the case; (f) any relationship
    13   between the person and any Party to this action, past or present; and (g) whether
    14   he or she has ever been found by any court, arbitrator, or other tribunal to have
    15   violated any court order.        The Notice shall also include declarations, in
    16   substantially the form attached hereto as Exhibits A and B, executed by the
    17   Outside Consultant and agreeing to be bound by the terms of this Protective
    18   Order.
    19          29.    Objections. The Designating Party shall have five (5) court days
    20   from receipt of such notice to object in writing (by fax and email) to such
    21   disclosure. Any such objection must set forth in detail the grounds on which it
    22   is based. After the expiration of the 5-day period, if no objection has been
    23   asserted, then Designated Material may be disclosed to the Outside Consultant
    24   pursuant to the terms of this Order.
    25          30.    Meet and Confer. A Party that receives a timely written objection
    26   (as set forth in Paragraph 29) must meet and confer with the objecting Party to
    27   try to resolve the matter by agreement. Approval by the objecting Party shall
    28   not be unreasonably withheld
                                                  - 14 -
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     1          31.    Judicial Intervention. If no agreement is reached, the objecting
     2   Party may, within fifteen (15) court days following its objection, file a motion
     3   for a protective order preventing disclosure of Designated Material to the
     4   Outside Consultant. The burden of persuasion in any such motion shall be on
     5   the Party opposing disclosure to the Outside Consultant. Designated Material
     6   shall not be disclosed to the Outside Consultant prior to the resolution of any
     7   such objection
     8                           PATENT PROSECUTION BAR
     9          32.    Designated Material of another party shall not be disclosed to any
    10   attorney or patent agent who is or will become involved, during the pendency of
    11   this litigation or within one (1) year after final disposition of this litigation, in
    12   the prosecution or filing of any U.S. or foreign patent applications that claim,
    13   disclose, describe, or relate to products, methods or systems that implement
    14   direct cooling by using the item to be cooled as an evaporator.
    15          33.    The prosecution bar does not apply to any information contained in
    16   Designated Material that is in the public domain or known to the attorney or
    17   patent agent before his or her review of the Designated Material.               The
    18   prosecution bar applies only to individuals who actually review the Designated
    19   Material and does not apply to other attorneys or patent agents within the same
    20   firm as an attorney or patent agent who reviews such Designated Material.
    21          34.    Any attorney or patent agent who, on behalf of a receiving party,
    22   actually reviews any Designated Material of another party shall not thereafter
    23   prosecute or file, on behalf any entity, during the pendency of this litigation or
    24   within one (1) year after final disposition of this litigation, any U.S. or foreign
    25   patent applications that claim, disclose, describe, or relate to products, methods
    26   or systems that implement direct cooling by using the item to be cooled as an
    27   evaporator.
    28    ///
                                                - 15 -
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     1         35.    This prosecution bar does not prohibit any attorney or patent agent
     2   from fully participating in reexamination proceedings initiated by an entity other
     3   than the patentee or assignee. This prosecution bar applies to all other patent
     4   prosecution activities including, without limitation: preparation of and/or
     5   amendments to original, continuation, divisional, continuation-in-part, request
     6   for continued examination, reexamination proceedings initiated by the patentee
     7   or assignee, reissue, substitute, renewal or convention patent applications; claim
     8   drafting; and substantive consultation on any of the above matters with others
     9   performing these activities.
    10         36.    Any party receiving Designated Material who believes in good
    11   faith that disclosure of such Designated Material to the United States Patent and
    12   Trademark Office (PTO) is required by 37 C.F.R. § 1.56 may disclose such
    13   Designated Material to the PTO using the confidential disclosure procedures set
    14   forth in Sections 724 - 724.06 of the Manual of Patent Examining Procedure.
    15   Any such disclosure shall be accompanied by a Petition to Expunge such
    16   Protected Material from the PTO’s file in accordance with 37 C.F.R. § 1.59(b)
    17   and Section 724.05 of the Manual of Patent Examining Procedure. At least ten
    18   (10) days prior to submission of Protected Material to the PTO, the submitting
    19   party shall provide written notice of the planned submission to the producing
    20   party. The Producing Party may seek relief from this Court to prevent or
    21   otherwise restrict disclosure of the Material to the PTO.
    22                        FILING DESIGNATED MATERIAL
    23         37.    A Party may not file in the public record in this action any
    24   Designated Material without first obtaining written permission from the
    25   Designating Party.
    26         38.    If a Party is unable to obtain written permission from the
    27   Designating Party, the filing party shall file in the public record a redacted
    28
                                               - 16 -
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     1   version of its filing and seek to have the Designated Material filed under seal in
     2   accordance with Local Rule 79-5.
     3          39.    All Designated Material that is filed or lodged with the Court shall
     4   be filed or lodged in a sealed envelope on which shall be affixed a cover page.
     5   The cover page shall include the words “CONFIDENTIAL,” “TDSF
     6   CONFIDENTIAL” or “HIGHLY CONFIDENTIAL - ATTORNEYS AND
     7   CONSULTANTS ONLY” as appropriate and a legend substantially in the
     8   following form:
     9                 This sealed container contains confidential materials generally
                       identified as [“CONFIDENTIAL,” “TDSF CONFIDENTIAL”
    10
                       or “ATTORNEYS AND CONSULTANTS ONLY”] pursuant
    11                 to the Protective Order in Advanced Thermal Sciences
                       Corporation v. Applied Materials, Inc., Civ Action No. SACV
    12
                       07-1384 JVS (JWJx) (CDCA-Southern Div.) This envelope
    13                 shall not be opened nor the contents thereof revealed except by
                       the Court, including court personnel as necessary for handling
    14
                       of the matter, or as directed by further Order of the Court.
    15                 After any such opening or revelation, the envelope shall be
                       resealed with the contents inside.
    16
    17          40.    Unless otherwise ordered by the Court, Designated Material
    18   used or disclosed in a court proceeding in connection with this litigation that is
    19   not made part of the public record shall not lose its Confidential Information
    20   status merely as a result of such use, and the Parties shall take all steps
    21   reasonably required to protect its confidentiality during such use.
    22                        OBJECTIONS TO DESIGNATIONS
    23          41.    Timing of Objections. At any stage of these proceedings, any party
    24   may object to a designation of Designated Material, including deposition
    25   transcripts   and    portions   therefore,     as   “CONFIDENTIAL,”       “TDSF
    26   CONFIDENTIAL” or “HIGHLY CONFIDENTIAL -ATTORNEYS AND
    27   CONSULTANTS ONLY.”
    28    ///
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     1         42.   Meet and Confer. A Party that challenges a Designating Party’s
     2   confidentiality designation must do so in good faith and must begin the process
     3   by meeting and conferring with counsel for the Designating Party.
     4         43.   Judicial Intervention. A Party that elects to press a challenge to a
     5   confidentiality designation after considering the justification offered by the
     6   Designating Party may file and serve a motion that identifies the challenged
     7   Designated Material and sets forth in detail the basis for the challenge. The
     8   burden of persuasion in any such challenge proceeding shall be on the
     9   Designating Party. Until the Court rules on the challenge or it is otherwise
    10   resolved by the parties, all parties shall continue to afford the Designated
    11   Material in question the level of protection to which it is entitled under the
    12   Designating Party’s designation.
    13          PROTECTED DESIGNATED MATERIAL SUBPOENAED,
    14     REQUESTED, OR ORDERED PRODUCED IN OTHER LITIGATION
    15         44.   If a Receiving Party, other than in the proceedings in this action, is
    16   served with (a) a subpoena or court order compelling or (b) a discovery request
    17   seeking disclosure of any information, documents, or things designated in this
    18   action as “CONFIDENTIAL,” “TDSF CONFIDENTIAL” or “HIGHLY
    19   CONFIDENTIAL - ATTORNEYS AND CONSULTANTS ONLY,” the
    20   Receiving Party must so notify the Designating Party, in writing (by both fax
    21   and email) promptly and in no event more than ten (10) calendar days after
    22   receiving the subpoena, discovery request, or order. Such notification must
    23   include a copy of the subpoena, discovery request, or order. The Receiving
    24   Party also must immediately inform in writing the person or entity who caused
    25   the subpoena, discovery request, or order to issue that some or all the
    26   Designated Material covered by the subpoena, discovery request, or order is the
    27   subject of this Order. In addition, the Receiving Party must deliver a copy of
    28   this Stipulated Protective Order promptly to the person or entity in the other
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     1   action that caused the subpoena, discovery request, or order to issue.         The
     2   purpose of imposing these duties is to alert the interested parties to the existence
     3   of this Order and to afford the Designating Party in this case an opportunity to
     4   try to protect its confidentiality interests in the court from which the subpoena
     5   or order issued or in the proceeding in relation to which the discovery request
     6   was propounded.      The Designating Party shall bear the burdens and the
     7   expenses of seeking protection in that court or proceeding of its confidential
     8   material, and nothing in these provisions should be construed as authorizing or
     9   encouraging a Receiving Party in this action to disobey a lawful directive from
    10   another court.    However, a Receiving Party shall not, in response to any
    11   discovery request, disclose any Designated Materials designated in this action as
    12   “CONFIDENTIAL,”            “TDSF        CONFIDENTIAL”            or     “HIGHLY
    13   CONFIDENTIAL - ATTORNEYS AND CONSULTANTS ONLY” absent
    14   permission of the Designating Party or a lawful directive from a court.
    15      UNAUTHORIZED DISCLOSURE OF DESIGNATED MATERIAL
    16          45.   If a Receiving Party learns that, by inadvertence or otherwise, it has
    17   disclosed Designated Material to any person or in any circumstance not
    18   authorized under this Order, the Receiving Party must immediately (a) notify in
    19   writing the Designating Party of the unauthorized disclosures, (b) use its best
    20   efforts to retrieve all copies of the Designated Material, (c) inform the person or
    21   persons to whom unauthorized disclosures were made of all the terms of this
    22   Order, and (d) request such person or persons to execute the “Acknowledgment
    23   and Nondisclosure Agreement” that is attached hereto as Exhibit A.
    24    ///
    25    ///
    26    ///
    27    ///
    28    ///
                                                - 19 -
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     1       INADVERTENT PRODUCTION OF DESIGNATED MATERIAL
     2        SUBJECT TO THE ATTORNEY-CLIENT PRIVILEGE, WORK
     3      PRODUCT IMMUNITY, OR OTHER PRIVILEGE OR IMMUNITY
     4         46.     Inadvertent production of documents or information subject to the
     5   attorney-client privilege, work product immunity, or any other applicable
     6   privilege or immunity shall not constitute a waiver of such privilege(s).
     7         47.     Upon receiving written notice from the producing party that
     8   Designated Material subject to a privilege or immunity has been inadvertently
     9   produced along with a supplemental privilege log identifying the Designated
    10   Material and the basis for the claims of privilege or immunity, the receiving
    11   party shall not copy or disseminate such Designated Material. The receiving
    12   party shall return all originals and copies of the Designated Material (or certify
    13   in writing to their destruction) within fourteen (14) days of receiving the
    14   producing party’s written request, unless the receiving party has a good faith
    15   basis for asserting that the information is not protected by any privilege or
    16   immunity.     If the receiving party believes it has a good faith basis for
    17   challenging the privilege claim, the receiving party may notify the producing
    18   party that it will retain one copy of such Designated Material for the limited
    19   purpose of submitting it under seal to the Court for review. The parties shall
    20   meet and confer within five (5) business days regarding the dispute and if the
    21   parties are unable to resolve the dispute, the receiving party must either file a
    22   motion to compel within thirty (30) days after the meet and confer or return or
    23   destroy the last copy of the document.
    24         48.     Once inadvertently produced material has been used during a
    25   deposition, used as an exhibit to a pleading filed with the Court, identified for
    26   use at trial or otherwise disclosed to the Court, the producing party has three (3)
    27   weeks from the date of disclosure to provide notice of the inadvertent
    28   production.    Notwithstanding any other provision of this Order, failure to
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     1   provide notice within this three (3) week period shall constitute a waiver of any
     2   and all applicable privileges with respect to the inadvertently produced material
     3   only.
     4                                     DURATION
     5           49.   Even after the termination of this action, the confidentiality
     6   obligations imposed by this Order shall remain in effect until a Designating
     7   Party agrees otherwise in writing or a court order otherwise directs.         All
     8   attorneys, vendors, consultants, and other persons that are shown Designated
     9   Material under the terms of this Protective Order shall submit to the jurisdiction
    10   of this Court for the purpose of enforcing the terms of this Stipulated Protective
    11   Order, even if such enforcement proceedings occur after termination of this
    12   action.
    13                               FINAL DISPOSITION
    14           50.   Unless otherwise ordered or agreed in writing by the Producing
    15   Party, within sixty (60) calendar days after the final termination of this action,
    16   each Receiving Party must destroy or return all Designated Material to the
    17   Producing Party. As used in this Paragraph, “all Designated Material” includes
    18   all copies, abstracts, compilations, summaries or any other form of reproducing
    19   or capturing any of the Designated Material. The Receiving Party must submit
    20   a written certification to the Producing Party (and, if not the same person or
    21   entity, to the Designating Party) by the 60-day deadline that affirms (i) that all
    22   Designated Material has been destroyed or returned, and (ii) that the Receiving
    23   Party has not retained any copies, abstracts, compilations, summaries or other
    24   forms of reproducing or capturing any of the Designated Material.
    25   Notwithstanding this provision, Counsel of Record may retain an archival copy
    26   of all pleadings, motion papers, transcripts, legal memoranda, correspondence or
    27   attorney work product, even if such materials contain Designated Material. Any
    28   such archival copies that contain or constitute Designated Material remain
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     1   subject to this Order as set forth in Paragraph 49 (Duration), above. The Court
     2   and its personnel are not subject to this or any other provision of this
     3   agreement.
     4                                  MISCELLANEOUS
     5         51.    Right to Further Relief. Nothing in this Order abridges the right of
     6   any person to seek its modification by the Court in the future. Any such effort
     7   to modify the Order shall be made in the form of a written stipulation if agreed
     8   to by all Parties or by way of a noticed motion served and filed in accordance
     9   with statutory requirements and local court rules.
    10         52.    No Diminishing Of Existing Rights. This Order shall not diminish
    11   any existing obligation or right with respect to Designated Material, including
    12   evidentiary rights, the attorney-client privilege, work product protection, or
    13   comparable privileges, nor shall it prevent a disclosure to which the Designating
    14   Party consents in writing before the disclosure takes place.
    15         53.    No Waiver. Other than as specified herein, the taking of or the
    16   failure to take any action to enforce the provisions of this Order, or the failure to
    17   object to any designation or any such action or omission, shall not constitute a
    18   waiver of any right to seek and obtain protection or relief in this action or any
    19   other action, such right including, but not limited to, the right to claim that any
    20   information is or is not proprietary to any Party, is or is not entitled to particular
    21   protection, or does or does not embody trade secrets of any Party.               The
    22   procedures set forth herein shall not affect the rights of Parties to object to
    23   discovery on grounds other than those related to trade secrets or proprietary
    24   information claims, nor shall it relieve a Party of the necessity of proper
    25   response to discovery devices.
    26         54.    No Probative Value. The recitals and terms of this Order are not
    27   factual or legal admissions regarding any substantive issues and shall not be
    28   admitted as evidence of any substantive fact or contention. This Order shall not
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     1   abrogate or diminish any contractual, statutory, or other legal obligation or right
     2   of any Party or person with respect to any Designated Material. Designating
     3   Material under this Order shall not be deemed to be determinative of what a trier
     4   of fact may determine to be confidential or proprietary. This Order shall not
     5   prejudice the right of any Party to dispute whether particular information or
     6   material is or is not: (a) confidential; (b) entitled to a greater or lesser degree of
     7   protection than provided hereunder; or (c) relevant to any issue of this case,
     8   provided that in doing so the party complies with the foregoing procedures.
     9   Absent a stipulation of all Parties, the fact that information has been designated
    10   “CONFIDENTIAL,”            “TDSF          CONFIDENTIAL”            or     “HIGHLY
    11   CONFIDENTIAL - ATTORNEYS AND CONSULTANTS ONLY” under this
    12   Order shall not be admissible during the trial of this action, nor shall the jury be
    13   advised of such designation.
    14         55.    Rendering Legal Advice To Clients. Nothing in this Order shall
    15   bar or otherwise restrict any attorney from rendering advice to his or her client
    16   with respect to this litigation and, in the course of rendering advice, referring to
    17   or relying generally on the examination of Designated Material obtained from
    18   another Party; provided, however, that in rendering such advice and in otherwise
    19   communicating with his is her client, the attorney shall not disclose the contents
    20   of any Designated Material obtained from another Party if that disclosure would
    21   be contrary to the terms of this Order.
    22         56.    Non-Applicability Of Restrictions. The restrictions as to use or
    23   dissemination of information, documents or things, set forth in this Order shall
    24   not apply as to any information that (a) at the time of the designation under this
    25   Order was generally available to the public; (b) after designation under this
    26   Order becomes available to the public through no act, or failure to act,
    27   attributable to the Receiving Party or its counsel; or (c) the Receiving Party, its
    28   counsel, or any recipient of Designated Material under this Order can show as a
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     1   matter of written record was already known to the Receiving Party through
     2   means other than misappropriation as defined in the California Uniform Trade
     3   Secrets Act or any violation of law.
     4       57.      Notice. Any notice or objection to be provided under this Order
     5   shall be provided by both facsimile and email as set forth below. The first page
     6   of any such notice or objection shall use the caption for this action.
     7          To Plaintiff:      Facsimile: (949) 760-9502 (Attn: Joseph Re and
     8                                 Benjamin Katzenellenbogen);
     9                             Email: 2jrr@kmob.com; 2bak@kmob.com
    10          To Defendant:      Facsimile: (650) 614-7401 (Attn: Michael Heafey and
    11                                 Jan Ellard);
    12                             Email: mheafey@orrick.com; jellard@orrick.com
    13   Any Party may modify its facsimile and email information by providing notice
    14   to the other Parties in accordance with this provision.
    15          58.   Right to Protective Order. Nothing in this Order shall prejudice the
    16   rights of the parties to present a motion to the Court under Rule 26(c) of the
    17   Federal Rules of Civil Procedure for a separate protective order as to any
    18   particular document or information, including restrictions differing from those
    19   specified herein. This Order shall not be deemed to prejudice the parties in any
    20   way in any future application for modification of this order.
    21          59.   No Admission of Discoverability. This Order shall not prejudice
    22   the right of any party to oppose production of any information for lack of
    23   relevance or any other ground other than the mere presence of confidential
    24   information. Similarly, no Party waives any right to object on any ground to the
    25   use in evidence of any of the material covered by this Order. The existence of
    26   this Order shall not be used by either party as a basis for seeking discovery that
    27   is otherwise not proper under the Federal Rules of Civil Procedure.
    28    ///
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     1    ///
     2           60.   Modification of Order. This Order may be modified by agreement
     3   of the parties, subject to approval by the Court.
     4
     5   IT IS SO ORDERED.
     6   Dated: September 10, 2008                /s/
                                          THE HONORABLE JEFFREY W. JOHNSON
     7                                    UNITED STATES DISTRICT COURT
     8                                    MAGISTRATE JUDGE

     9   Presented by:

    10   KNOBBE, MARTENS, OLSON & BEAR, LLP

    11   By: s/Benjamin A. Katzenellenbogen__
             Joseph R. Re
    12       Benjamin A. Katzenellenbogen
             Colin B. Heideman
    13
         JACKSON DEMARCO TIDUS PECKENPAUGH
    14   Ryan M. Patch (State Bar No. 128,042)
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    15   2030 Main Street, 12 Floor
         Irvine, CA 92614
    16   Telephone: (949) 752-8585
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    17
         SQUIRE, SANDERS & DEMPSEY L.L.P.
    18   Steven A. Lamb (State Bar No. 132,534)
         slamb@ssd.com
    19   555 South Flower Street, 31st Floor
         Los Angeles, CA 90071
    20   Telephone: (213) 624-4500
         Facsimile: (213) 623-4581
    21
         Attorneys for Plaintiff/Counterdefendant, ADVANCED
    22   THERMAL SCIENCES CORPORATION
    23
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     1                                     EXHIBIT A
     2       ACKNOWLEDGMENT AND NONDISCLOSURE AGREEMENT
     3
     4         I, ________________, do solemnly swear or affirm that I have been
     5   provided with and have read the Stipulated Protective Order regarding
     6   confidentiality in Advanced Thermal Sciences Corporation v. Applied
     7   Materials, Inc., Civil Action No. SACV 07-1384 JVS (JWJx).
     8         I expressly agree that I will not disclose any information received by me
     9   pursuant to the Stipulated Protective Order and I agree to be bound by its terms
    10   as ordered by the Court. I understand that if I violate the terms of the Protective
    11   Order, I may be subject to an enforcement proceeding before the Court, and I
    12   will comply with and be bound by the terms and conditions of said Order unless
    13   and until modified by further order of the Court.
    14         I hereby consent to the jurisdiction of the United States District Court for
    15   the Central District of California for purposes of enforcing this Order.
    16
    17   Dated:______________              By:_________________________________
    18
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     1                                      EXHIBIT B
     2                       CERTIFICATION OF CONSULTANT
     3                I, ____________________________________________ [print or
     4   type full name], of ___________________________________________ [print
     5   or type full address], declare under penalty of perjury that I have read in its
     6   entirety and understand the Stipulated Protective Order that was issued by the
     7   United States District Court for the Central District of California, Southern
     8   Division, on _________ [date] in the case of Advanced Thermal Sciences
     9   Corporation v. Applied Materials, Inc., Civil Action No. SACV 07-1384 JVS
    10   (JWJx) (the “Action”), and that I have executed an “Acknowledgment And
    11   Agreement To Be Bound By Protective Order.”
    12                I further certify that I am not an employee of the Party who
    13   retained me, or of a competitor of the opposing Party. If at any time after I
    14   execute this Certificate of Consultant and during the pendency of the Action I
    15   become an employee of a competitor of the opposing Party, I will promptly
    16   inform the counsel for the party who retained me in the Action, and I will not
    17   thereafter review any Designated Material marked by the opposing Party as
    18   “ATTORNEYS AND CONSULTANTS ONLY” unless and until the Parties
    19   agree or the Court orders otherwise. I hereby consent to the jurisdiction of the
    20   United States District Court for the Central District of California for purposes of
    21   enforcing this Order.
    22
    23   Date: _________________________________
    24
    25   City and State where sworn and signed: ________________________________
    26
    27   _____________________            ________________________________
    28   [Printed Name]                   [Signature]
                                                - 27 -
